Case 2:05-cr-20272-SH|\/| Document 7 Filed 07/21/05 Page 1 of 2 Png|QE D .Y

 

UNITED sTATEs DISTRICT CoURT JUL 2 1 2995
WESTERN DISTRICT oF TENNEssEE rm M. sons cum
Western Division U. S- mde C°u'f

W. D. OF TN. MG"WNS

UNITED STATES OF AMERICA

-vs- Case No. 2:05cr20272-001Ma
ALBERT SMITH

 

ORDER OF TEMPORARY DETENTION
PENDING HEARINGl PURSUANT TO
BAIL REFORM ACT

Upon motion of the Government, it is ORDERED that a detention hearing is set for
TUESDAY, JULY 26, 2005 at 2:30 P.M. before United States Magistrate Judge Diane K. Vescovo
in Courtroom No. 5, Third Floor, United States Courthouse and F ederal Building, 167 North Main,
Mernphis, TN. Pending this hearing, the defendant shall be held in custody by the United States
Marshal and produced for the hearing.

Date: July 21, 2005 cg WMA, QZ_`

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE IUDGE

 

lIf not held immediately upon defendants first appearance, the hearing may be continued for up to three days upon
motion of the government, or up to five days upon motion of the defendant. 18 U.S.C. § 3 142(1')(2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142(t) are present Subsection (1) sets forth
the grounds that may be asserted only by the attorney for the govemment; subsection (2) states that a hearing is mandated
upon the motion of the attorney for the government or upon the judicial officer's own motion, if there is a serious risk that the
defendant (a) will flee or (b) will obstruct or attempt to obstruct j ustice, or threaten, injure, or intimidate or attempt to threaten,
injure, or intimidate a prospective Witness or j uror.

AO 470 (BIBS) Order of T¢mporary Detention

This door ~“-' :';. entered on the docket sheet tn ecmpllance
with nut storm wm mch on "

: .| l x x F
UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 7 in
case 2:05-CR-20272 Was distributed by faX, mail, or direct printing on
July 26, 2005 to the parties listed.

 

 

Stephen P. Hall

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

i\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

